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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

                              CERTIFICATE OF SERVICE

          Re: Mitchell Le Dac Ho, Petitioner, v. Cathy Halvorson, Respondent
                               21-cv-02573 (JRT/HB)

I hereby certify that on January 12, 2022, I caused the following documents:

              State’s Answer to Petition for Writ of Habeas Corpus,
              State’s Memorandum,
              State’s Appendix,
              Certificate of Compliance.
to be filed electronically with the Clerk of Court through ECF.

I further certify that on January 12, 2022, I caused a copy of the foregoing documents and
the notice of electronic filing to be mailed by first class mail, postage paid, to the following:

              Charles L. Hawkins
              Attorney at Law
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Date: January 12, 2022                      /s/ Brittany D. Lawonn
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